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                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


     KAMINO LLC,

                Plaintiff                             Case No. 6:19-cv-00713

                v.                                    JURY TRIAL DEMANDED

     ANKER INNOVATIONS LIMITED,

                Defendant


                     COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Kamino LLC (“Plaintiff” or “Kamino”) hereby asserts the following

 claims for patent infringement against Defendant Anker Innovations Limited

 (“Defendant” or “Anker”), and alleges, on information and belief, as follows:

                                      THE PARTIES

1.      Kamino is a limited liability company organized and existing under the laws of

the Texas with its principal place of business at 17330 Preston Road, Suite 200D, Dallas,

Texas 75252.

2.      Defendant Anker Innovations Limited is organized under the laws of Hong Kong

having a principal place of business at Room 1318-19, Hollywood Plaza, 610 Natahan

Road, Mongkok, Kowloon, Hong Kong SAR, Peoples Republic of China.

                             JURISDICTION AND VENUE

3.      This action arises under the patent laws of the United States, 35 U.S.C. § 1, et seq.

This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).
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4.     Defendant has committed acts of infringement in this judicial district.

5.     On information and belief, the Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in the

state of Texas, has conducted business in the state of Texas, and/or has engaged in

continuous and systematic activities in the state of Texas.

6.     On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Western District of Texas.

7.     Venue is proper in the Western District of Texas pursuant to 28 U.S.C. § 11400(b).

                                THE PATENT-IN_SUIT

8.     On August 20, 2002, United States Patent No. 6,435,686 (the “’686 patent”),

entitled "Light Conducting Plate for a Back Lighting Device and Back Lighting Device,"

was duly and lawfully issued by the U.S. Patent and Trademark Office. A true and correct

copy of the ’686 patent is attached hereto as Exhibit A.

9.     Kamino is the assignee and owner of the right, title and interest in and to the ’686

patent, including the right to assert all causes of action arising under said patents and

the right to any remedies for infringement of them.

           COUNT I – INFRINGEMENT OF U.S. PATENT NO. 6,435,686

10.    Kamino repeats and realleges the allegations of paragraphs 1 through 9 as if fully

set forth herein.

11.    Claim 1 of the ’686 Patent recites:

       1. A light conducting plate for a back lighting device, comprising:

       a light-inlet end face for introducing light emitted from a light source to be
       disposed facing said light conducting plate;

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       a reflecting face for reflecting the light introduced through said light-inlet
       end face; and

       a light-outlet face disposed opposite to said reflecting face for allowing the
       light reflected from the reflecting face to emit therethrough,

       wherein said reflecting face includes a light-scattering region and a
       remainder region, and the remainder region is located on a side near to said
       light-inlet end face.

12.    Without license or authorization and in violation of 35 U.S.C. § 271(a), Defendant

has infringed and continues to infringe the ’686 patent by making, using, importing,

offering for sale, and/or selling mobile devices, such as the eufy SpaceView HD Wireless

Baby Monitor (the “Accused Products”).

13.    As exemplified below, the SpaceView monitor includes a light conducting plate as

claimed by the ’686 Patent.

       1. A light conducting plate for a back lighting device, comprising:

The Accused Instrumentality includes a light conducting plate for a back lighting device.




       The light conducting plate of the Accused Instrumentality is part of display apparatus.

The light conducting plate includes a light-inlet end face, a reflecting face, and a light outlet face.

The reflecting face includes a light-scattering region and a remainder region




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       a light-inlet end face for introducing light emitted from a light source to be
       disposed facing said light conducting plate;

       The Accused Instrumentality includes a light-inlet end face for introducing light emitted

from a light source.




       a reflecting face for reflecting the light introduced through said light-inlet
       end face; and

       The Accused Instrumentality includes a reflecting face for reflecting the light introduced

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through the light-inlet end face.




       a light-outlet face disposed opposite to said reflecting face for allowing the
       light reflected from the reflecting face to emit therethrough,

       The Accused Instrumentality includes a light-outlet face disposed opposite to the

reelecting face for allowing the light reflected from the reflecting face to emit therethrough.




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       wherein said reflecting face includes a light-scattering region and a
       remainder region, and the remainder region is located on a side near to said
       light-inlet end face.

       The reflecting face includes a light-scattering region and a remainder region. The

remainder region is located on a side near to the light-inlet face.




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14.    Kamino is entitled to recover from Defendant the damages sustained by Kamino

as a result of Defendant's infringement of the ’686 patent in an amount subject to proof

at trial, which, by law, cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

                                PRAYER FOR RELIEF

       WHEREFORE, Kamino requests that this Court enter judgment against

Defendant as follows:

       A.      An adjudication that Defendant has infringed the ’686 patent;

       B.      An award of damages to be paid by Defendant adequate to compensate

Kamino for Defendant's past infringement of the ’686 patent and any continuing or future

infringement through the date such judgment is entered, including interest, costs,

expenses and an accounting of all infringing acts including, but not limited to, those acts

not presented at trial;

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      C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an

award of Kamino's reasonable attorneys' fees; and

      D.      An award to Kamino of such further relief at law or in equity as the Court

deems just and proper.

                                   JURY DEMAND

      Plaintiff demands trial by jury, Under Fed. R. Civ. P. 38.



Dated: December 18, 2019                       Respectfully Submitted

                                               /s/ Raymond W. Mort, III
                                               Raymond W. Mort, III
                                               Texas State Bar No. 00791308
                                               raymort@austinlaw.com

                                               THE MORT LAW FIRM, PLLC
                                               100 Congress Ave, Suite 2200
                                               Austin, Texas 78701
                                               Tel/Fax: (512) 865-7950

                                               ATTORNEYS FOR PLAINTIFF




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